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EXHIBIT A
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GC-310

TELEPHONE NO.: (213) 892-4992 FAXNO. (Optinay: (213) 892-7731 Los Angeles Superior Court

E-MAIL ADDRESS (Optional): FEB i} 2008

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
| Geraldine A. Wyle, SBN 39735 Jeryll S. Cohen, SBN 125392 Om OCRT ESE OY 8
Vivian L. Thoreen, SBN 224162 sy
Luce, Forward, Hamilton & Scripps LLP FILED oe
601 South Figueroa Street, Suite 3900, Los Angeles, California 90017 “low Einar 5
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~N

ATTORNEY FOR (Name): James P. Spears hy
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles John 2: Elaphe, Executive Offieer/Clerk
STREET ADORESS: 111 North Hill Street $4 op hs
MAILING ADDRESS: 111 North Hill Street B ‘€ Walle

3

city AND zip cope: _Los Angeles, California 90012
BRANCH NAME: Central

CONSERVATORSHIP OF
(Name): Britney Jean Spears

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(PROPOSED) CONSERVATEE Q
PETITION FOR APPOINTMENT OF [] SUCCESSOR 3 i MO es ze =
PROBATE CONSERVATOR OF THE [X] PERSON [] ESTATE }=— << i— ¢ ae =
[-] Limited Conservatorship Slo - On [6°30 9 ot
i
1. Petitioner (name): James P. Spears requests that
a. (Name): (Telephone):
(Address):
be appointed [_] successor [x] conservator [[] _ limited conservator
of the ESTATE of the (proposed) conservatee and Letters issue upon qualification.
b. (Name): James P. Spears (Telephone): (818) 761-4345

(Address): 10945 Bluffside Drive, Studio City, California 91604

be appointed [_] successor [] conservator [] limited conservator
of the PERSON of the (proposed) conservatee and Letters issue upon qualification.

c. (1) [-] bond not be required [-] because the proposed [_] successor conservator is a corporate fiduciary or
an exempt government agency. [-] for the reasons stated in Attachment 1c.

B79, fae

(2) [bond be fixed at: $ to be furnished by an authorized surety company or as otherwise provided
by law. (Specify reasons in Attachment 1c if the amount is different from the minimum required by Probate Code
section 2320.)

(3) [] $ in deposits in a blocked account be allowed. Receipts will be filed. (Specify institution and
location):

d. {1 orders authorizing independent exercise of powers under Probate Code section 2590 be granted.
Granting the proposed [_] successor conservator of the estate powers to be exercised independently under
Probate Code section 2590 would be to the advantage and benefit and in the best interest of the conservatorship
estate. (Specify orders, powers, and reasons in Attachment 1d.)

e. [] orders relating to the capacity of the (proposed) conservatee under Probate Code section 1873 or 1901 be granted.
(Specify orders, facts, and reasons in Attachment 1e.)

f. [] — orders relating to the powers and duties of the proposed [_] successor conservator of the person under
Probate Code sections 2351-2358 be granted. (Specify orders, facts, and reasons in Attachment 1f)

g. [x] the (proposed) conservatee be adjudged to lack the capacity to give informed consent for medical treatment or
healing by prayer and that the proposed C] successor conservator of the person be granted the powers
specified in Probate Code section 2355. (Complete item 9 on page 5.)

Do NOT use this form for a temporary conservatorship.

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CONSERVATORSHIP OF (Name): Britney Jean Spears CASE NUMBER:

CONSERVATEE

(for limited conservatorship only) orders relating to the powers and duties of the proposed [_]  successor*
limited conservator of the person under Probate Code section 2351.5 be granted.

(Specify orders, powers, and duties in Attachment 1h and complete item 1).)

(for limited conservatorship only) orders relating to the powers and duties of the proposed [_]  successor*
limited conservator of the estate under Probate Code section 1830(b) be granted.

(Specify orders, powers, and duties in Attachment 1i and complete item 1 fj.)

(Specify limitations in Attachment 1).)

WHO OF ©

Dementia (form GC-313) under Probate Code section 2356.5 be granted. A Capacity Declaration—Conservatorship
(form GC-335) and Dementia Attachment to Capacity Declaration—Conservatorship (form GC-335A), executed by a
licensed physician or by a licensed psychologist acting within the scope of his or her licensure with at least two years
experience diagnosing dementia, [_] are filed herewith. [J will be filed before the hearing.

C] (appointment of successor conservator only) will not be filed because an order relating to dementia placement or

(for limited conservatorship only) orders limiting the civil and legal rights of the (proposed) limited conservatee be granted.

orders related to dementia placement or treatment as specified in the Attachment Requesting Special Orders Regarding

treatment was filed on (date): . That order has neither expired by its terms nor been revoked.

L {J other orders be granted. (Specify in Attachment 11.)

2. (Proposed) conservatee is (name): Britney Jean Spears
(Present address): UCLA Medical Center, 10833 Le Conte Avenue, Westwood, California 90095

(Telephone): (310) 825-9111
3. a. [X) Jurisdictional facts (initial appointment only): The proposed conservatee has no conservator in California and is a

(1) [resident of California and
(a) [<] a resident of this county.
(b) [_] not a resident of this county, but commencement of the conservatorship in this county is in the best
interests of the proposed conservatee. (Specify reasons in Attachment 3a.)
(2) CL] nonresident of California but
(a) C) is temporarily living in this county, or
(b) [J _ has property in this county, or
(c) [J commencement of the conservatorship in this county is in the best interest of the proposed
conservatee. (Specify reasons in Attachment 3a.)
b. Petitioner
(1) [] is EX isnot a creditor or an agent of a creditor of the (proposed) conservatee.
(2) LJ is [XJ isnot a debtor oran agent of a debtor of the (proposed) conservatee.

c. Proposed [_] successor conservator is (check all that apply):
(1) a nominee. (Affix nomination as Attachment 3c.)

the spouse of the (proposed) conservatee.
the domestic partner or former domestic partner of the (proposed) conservatee.

a bank [] other entity authorized to conduct the business of a trust company.

a nonprofit charitable corporation that meets the requirements of Probate Code section 2104.

a private professional conservator, as defined in Probate Code section 2341, who has filed with the court the
information statement required by Probate Code section 2342.

(8) (a) (] registered with the Statewide Registry of Private Conservators, Guardians, and Trustees maintained by the

LJ
(J
C]
(4) X]  arelative of the (proposed) conservatee as (specify relationship): father
[_]
LJ
CJ

California Department of Justice under Probate Code sections 2850-2855. The current registration declaration

on file will expire on (date):
(b) exempt from statewide registration under Probate Code section (specify):
(Explain basis for exemption in Attachment 3c.)

(9) [] _ other (specify):

* See Item 5b on page 3.

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CONSERVATORSHIP OF (Name): Britney Jean Spears CASE NUMBER:

CONSERVATEE

3.

d. Petitioner is

(1) [J the (proposed) conservatee.

(2) C1] the spouse of the (proposed) conservatee.

(3) [J the domestic partner or former domestic partner of the (proposed) conservatee.
(4) [] a relative of the (proposed) conservatee as (specify relationship): father

(5) [J] a bank [J] other entity authorized to conduct the business of a trust company.
(6) [] a state or local public entity, officer, or employee.

(7) [J aninterested person or friend of the (proposed) conservatee.

(8) Ed the proposed [] successor conservator.

(9) (] the guardian of the proposed conservatee.

Character and estimated value of the property of the estate (complete items (1) or (2) and (3), (4), and (5)):
(1) Cl (For appointment of successor conservator only, if complete Inventory and Appraisal filed by predecessor):

Personal property: $ , per Inventory and Appraisal filed in this proceeding on
(specify dates of filing of all inventories and appraisals):

(2) {_] Estimated value of personal property: $ Unknown
(3) Annual gross income from

(a) real property: $

(b) personal property: $

(c) pensions: $

(d) wages: $

(e) public assistance benefits: $

(f) other: $
(4) Total of (1) or (2) and (3): $ Unknown
(5) Real property: $

(a) (J per Inventory and Appraisal identified in item (1). Unknown
(b) (_] estimated value. Unknown

4. (Proposed) conservatee

[] is {J is nota patient in or on leave of absence from a state institution under the jurisdiction of the

a.
California Department of Mental Health or the California Department of Developmental Services (specify state institution):
b. [£] is receiving or entitled to receive [X] is neither receiving nor entitled to receive
benefits from the U.S. Department of Veterans Affairs (estimate amount of monthly benefit payable): $
ce. LE] is [] _ isnotableto complete an affidavit of voter registration.
5. a. [X] Proposed conservatee (initial appointment of conservator only
(1) [is an adult.
(2) (} willbe an adult on the effective date of the order (date):
(3) [1] isa married minor.
(4) [_] is aminor whose marriage has been dissolved.
b. (] Vacancy in office of conservator (appointment of successor conservator only. A petition for appointment of a limited
conservator after the death of a predecessor is a petition for initial appointment. (Prob. Code, § 1860. 5(a)(1). )
There is a vacancy in the office of conservator of the C] person (_] estate for the reasons
[-] specified in Attachment 5b. [_] _ specified below.
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CONSERVATORSHIP OF (Name): Britney Jean Spears CASE NUMBER:
CONSERVATEE
5. Cc. (Proposed) conservatee requires a conservator and is

(1) [x] unable to properly provide for his or her personal needs for physical health, food, clothing, or shelter.
Supporting facts are [_] specified in Attachment 5c(1) [XJ as follows:
See Confidential Supplemental Information.

(2) [J] | substantially unable to manage his or her financial resources or to resist fraud or undue influence.
Supporting facts are [_] specified in Attachment 5c(2) _[_] as follows:

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CONSERVATORSHIP OF (Name): Britney Jean Spears CASE NUMBER:

CONSERVATEE

(Proposed) conservatee voluntarily requests the appointment ofa [_] successor conservator.
(Specify facts showing good cause in Attachment 5(d).)

Confidential Supplemental Information (form GC-312) is filed with this petition. (Initial appointment of conservator only.

All petitioners must file this form except banks and other entities authorized to do business as a trust company.)

f. (Proposed) conservatee [_] is X] is not developmentally disabled as defined in Probate Code section 1420.
Petitioner is aware of the requirements of Probate Code section 1827.5. (Specify the nature and degree of the alleged
disability in Attachment 5f).

6. [] Petitioner or proposed [_] successor conservator is the spouse of the (proposed) conservatee.
(If this statement is true, you must answer a or b.)

a CJ
b = (]

The (proposed) conservatee's spouse is not a party to any action or proceeding against the (proposed) conservatee for
legal separation, dissolution of marriage, annulment, or adjudication of nullity of their marriage.

Although the (proposed) conservatee's spouse is a party to an action or proceeding against the (proposed) conservatee
for legal separation, dissolution, annulment, or adjudication of nullity of their marriage, or has obtained a judgment in one
of these proceedings, it is in the best interest of the (proposed) conservatee that:

(1) LJ] a [J successor conservator be appointed.
(2) [] _ the spouse be appointed as the [[] successor conservator.
(If you checked item 6b(1) or (2) or both, specify the facts and reasons in Attachment 6b.)

7. (J Petitioner or proposed [_] successor conservator is the domestic partner or former domestic partner of the
(proposed) conservatee. (/f this statement is true, you must answer a orb.):

a []
b. CJ

The domestic partner of the (proposed) conservatee has not terminated and does not intend to terminate the
domestic partnership.

Although the domestic partner or former domestic partner of the (proposed) conservatee intends to terminate or has
terminated the domestic partnership, it is in the best interest of the (proposed) conservatee that:

(1) [J a [J successor conservator be appointed.

(2) CJ. the domestic partner or former domestic partner be appointed as the [_] successor conservator.

(If you checked item 7b(1) or (2) or both, specify the facts and reasons in Attachment 7b.

8. (Proposed) conservatee (check all that apply):

a (4
b fC]

will attend the hearing AND —_[_] is the petitioner [X] is notthe petitioner AND [] has [&_ hasnot
nominated the proposed Pr] successor conservator.

(initial appointment of conservator only): is able but unwilling to attend the hearing AND [] does [] doesnot
wish to contest the establishment of a conservatorship, [_] does [_] doesnot

object to the proposed conservator, AND C] does [_] doesnot prefer that another person act as conservator.

{initial appointment of conservator only): is unable to attend the hearing because of medical inability. A Capacity
Declaration—Conservatorship (form GC-335), executed by a licensed medical practitioner or an accredited religious
practitioner. [_] _ is filed with this petition. [[] _ will be filed before the hearing.

(initial appointment of conservator only): is not the petitioner, is out of state, and will not attend the hearing.
(appointment of successor conservator only): will not attend the hearing.

9. [XJ Medical treatment of (proposed) conservatee

There is no form of medical treatment for which the (proposed) conservatee has the capacity to give an informed

a.
consent.

b. A Capacity Declaration—Conservatorship (form GC-335) executed by a licensed physician or by a licensed
psychologist acting within the scope of his or her licensure, stating that the (proposed) conservatee lacks the capacity to
give informed consent for any form of medical treatment and giving reasons and the factual basis for this conclusion,

[_] is filed with this petition. [><] will be filed before the hearing. [_] will not be filed for the reason stated in c.

c C (appointment of successor conservator only) The conservatee's incapacity to consent to any form of medical
treatment was determined by order filed in this matter on (date):

That order has neither expired by its terms nor been revoked.

d. (Proposed) conservatee [] is x is not an adherent of a religion that relies on prayer alone for healing,
as defined in Probate Code section 2355(b).

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CONSERVATORSHIP OF (Name): Britney Jean Spears CASE NUMBER:

CONSERVATEE

10. x Temporary conservatorship
Filed with this petition is a Petition for Appointment of Temporary Guardian or Conservator (form GC-110).

11. (Proposed) conservatee's relatives

The names, residence addresses, and relationships of the spouse or registered domestic partner and the second-degree relatives

of the (proposed) conservatee (his or her parents, grandparents, children, grandchildren, and brothers and sisters), so far as

known to petitioner, are

a. CJ listed below.

b. [_] not known, or none are now living, so the (proposed) conservatee's deemed relatives under Probate Code section
1821(b)(1}-(4) are listed below.

Name and relationship to conservatee Residence address

(1)

(2)

[x] Continued on Attachment 11.

12. [X] Confidential conservator screening form
Submitted with this petition is a Confidential Conservator Screening Form (form GC-314) completed and signed by the
proposed [_] successor conservator. (Required for all proposed conservators except banks and trust companies.)

13. [Xx] Court investigator
Filed with this petition is a proposed Order Appointing Court Investigator (form GC-330).

14. Number of pages attached:

Date: January 31, 2008

Jeryll S. Cohen > See

a

(TYPE OR PRINT NAME OF ATTORNEY FOR PETITIONER) (SIGNAT UREGE ATTORNEY FOR PETITIONER)

(All petitioners must also sign (Prob. Code, § 1020; Cal. Rules of Court, rule 7.103).)

{ declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: January 31, 2008 OK D }
: .
James P. Spears MALE RUAN
)

(TYPE OR PRINT NAME OF PETITIONER) (SIGNATURE OF PETITIONER

(TYPE OR PRINT NAME OF PETITIONER) (SIGNATURE OF PETITIONER)

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Petition for Appointment of
Probate Conservator

of the Person

Britney Jean Spears
Attachment I.d

Petitioner requests that the Court grant the Conservator of the Person the following
powers in addition to the powers provided by law:

1. The power to make all medical and health care decisions for the Conservatee
under Probate Code Section 2355, including but not limited to, the power to consent to and
authorize hospitalization and a full medical evaluation and diagnositic tests, including but not
limited to, blood work-up, urine test, psychiatric evaluation, to prevent the Conservatee from
discharging herself from the hospital, to authorize the hospital to use security personnel to
prevent the conservatee from leaving the hospital and to authorize the medical staff to use
restraints, if necessary, and recommended by the Conservatee’s treating physician.

2. The power to restrict and limit visitors; provided that the Temporary Conservator
shall not prevent the Conservatee from meeting with her attorney, subject to the Temporary
Conservator’s approval of the location for the meeting and ability to secure it in order to protect
the Conservatee.

3. The power to retain caretakers for the Conservatee on a 24 hour/7 day basis.
The power to retain security guards for the Conservatee on a 24 hour/7 day basis.
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Petition for Appointment of
Probate Conservator

of the Person and Estate
Britney Jean Spears
Attachment 1/

Will be filed prior to hearing.
